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 8                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
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     MARGARET WEBSTER,                              Case No.: 3:13-cv-05692-JSC
12
                        Plaintiff,                  [PROPOSED] ORDER RE
13
                                                    STIPULATION FOR DISMISSAL
14         vs.
15
   CREDIT COLLECTION SERVICES; and
16 DOES 1-10, inclusive,                            Judge: Jacqueline Scott Corley
17
                        Defendants.                 Complaint Filed: December 10, 2013
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20                                          ORDER
21         Based on the Stipulation of counsel, the case is dismissed with prejudice, each
22 party to bear its own attorney fees and costs.
23
         July 10, 2014
24 Date:____________                                 ___________________________
                                                    JACQUELINE SCOTT CORLEY
25                                                  MAGISTRATE JUDGE
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     [Proposed] Order                         1                   Case No.: 3:13-cv-05692-JSC
